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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

  MARCEL SEIDE,                             :
                                            : CASE NO: 1:17-cv-20633-RNS
                Plaintiff                   :
                                            :
        v.                                  :
                                            :
  CACH, LLC,                                :
                                            :
               Defendant                    :


                            SUGGESTION OF BANKRUPTCY

             PLEASE TAKE NOTICE that on March 19, 2017 (the “Petition Date”),

 CACH, LLC the Defendant in the above-captioned case filed a voluntary petition

 for relief under chapter 11 of title 11 of the United States Code in the United

 States Bankruptcy Court for the Southern District of New York, Case No. 17-

 10659 and jointly administered under In re SquareTwo Financial Services

 Corporation, et al., Case No. 17-10659.

             PLEASE TAKE FURTHER NOTICE that, pursuant to 11 U.S.C. § 362,

 inter alia, the commencement or continuation of a judicial, administrative or

 other action or proceeding against Defendant that was or could have been

 commenced before the Petition Date, including this action, is stayed as of the

 Petition Date.

                                   Respectfully submitted,

                                   BARRON & NEWBURGER, P.C.

                             By:   /s/ Lauren M. Burnette
                                   LAUREN M. BURNETTE, ESQUIRE
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                              FL I.D. No. 120079
                              450-106 State Road 13 N.
                              Suite 326
                              St. Johns, FL 32259
                              (904) 201-9120
                              lburnette@bn-lawyers.com
                              Counsel for Defendant

 Dated: March 24, 2017
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                         CERTIFICATE OF SERVICE

       I certify that on March 24, 2017, a copy of the foregoing document was

 served on all counsel of record via CM/ECF.


                               BARRON & NEWBURGER, P.C.


                         By:   /s/ Lauren M. Burnette
                               LAUREN M. BURNETTE, ESQUIRE
                               FL I.D. No. 120079
                               450-106 State Road 13 N.
                               Suite 326
                               St. Johns, FL 32259
                               (904) 201-9120
                               lburnette@bn-lawyers.com
                               Counsel for Defendant

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